Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1928 Page 1 of 15
                                                                 Date                  03/2-3/20!5
                                                                 "'lf1 Ce\pt Numb,2r. 5':!4-76f:,j,
                                                                 Amoum Pala:           ~'37 ,on


                       AMENDMENT TO CERTiFICATE OF ORGANIZATION
                                                                                                             l~ECE!VEo
                                                     OF                                                     MAR 2 3 2fJ;s
                                                                                                      Utan Div. of Corp & c
                                                                                                                      .   <om. cc,e
                          TRANSPORTATION STAFFING SOLUTIONS LLC


    Pursuant to UCA 48-3a-202, the individual named belo\v causes this Amendment to the
    Certificate of Organization to be delivered to the Utah Division of Corporations for filing and
    states as follows:
    Entity Number: 9025667-0[60
    The name of the limited liability company is: Transportation Staffing Solutions, LLC
    The Certificate of Organization shall be amended as set forth herein:
    Aliicle IV of the Certificate of Organization is amended as follows:
    By authority of the undersigned Alena Matveyenko who is the sole Member of the Company,
    Aleksandra Prykhodko is tem1inatcd as Manager. The three following individuals are named a11d
    appointed Co-Managers each with the individual authority to bind the company vvith their                                          o
    signature unilaterally, without a majority vote:
    Eugene Tuchinsky
    Alex Barsukov
    Kirk Glancy


    Filing date of the initial certificate: May l, 2014.
    This Amendment is effective March 23, 2015.


    Under penalties of pe1jury. I declare that this Amendment of Certificate of Organization has been
    examined by me and is, to the best of my knowledge and belief, true, conect, and complete.


    Name: Alena tv!atveyenko                        Sign~
    Title: Sole Member                              Dated: MarcH _J, 2015
Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1929 Page 2 of 15




                                                                                      File Number 902S667
                                                               LLC
                                         Certificate of Organization
                                                     OF
                                    Transportation Staffing Solutions, LLC

          The undersigned persoo(s) do hereby adopt the follow1og Certificate of Orgamzahon
          for the purpose of formmg a Utah L1m1ted L1ab1hty Company.
                                                            Article I
          The name of the hm1ted hab1hty company as to be Transportation Staffing Solutions,
          LLC

                                                           Article II
          The purpose or purposes for which the company IS organazed 1s to engage m:
          1111s busmess will be a consolidated payroll company, and engage many other lawful business
          m the State of Utah
          The Company shall further have uobm1ted power to to engage an or to perform any
          and all lawful acts pertammg to the management of any lawful busmess as well as to
          engage lh and to do any lawful act concernmg any and all lawful busmess for which
          a Limited L1ab1hty Company may be organized under the Utah L1m1ted L1ab1bty
          Company Act and any amendments thereto.

                                                           Article III
          The Company shall conhnuously ma1ntam an agent 10 the State of Utah for service of
          process who 1s an 10d1v1dual res1d10g 10 said state. The name and address of the m1t1al
          registered agent shall be:
                                             (Registered Agent Name & Address)
                                             James C Ziter
                                           339 East 3900 South, Suite 260
                                           Salt Lake City, UT, 84107
                                          ACCEPTANCE OF APPOINTMENT:
                                                  James C Ziter
                                                  Regtstered Agent Signature

                          Sr.ateofUtah
                          Department of Commerce
           •              D1v1S1on of Corporations & Commcrc1al Code
               '          This cen1fies that t.111s reglSltallon has been filed and
                          approved on I, Moy 2014 m the office of the D1vmon and
                          hereby issues this Ccrt11icauon thereof



                   KATHY BERO
                   D1v151on D1n.:ctor
Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1930 Page 3 of 15




                                                Article IV
          Name, Street address & Signature ofall members/managers
          Manager#l
          Aleksandra Prykhodko
          1450 S West Temple, #0402
          Salt Lake City, UT 84115
          James C Ziter (POA or AIF)
          Signature
          DATED I May, 2014

                                                 Article V
          Management statement
          This hm1ted hab1hty company will be managed by its Managers

                                                Article VI
          Records required to be kept at the prrnc1pal office mclude, but are not limited to the
          followmg:
                                               Article VI.1
                             A current hst m alphabetical order of the full name
                              and address of each member and each manager
                                               Article VI.2
                              A copy of the stamped certificate ofOrgan1zat1on
                                 and all certificates ofamendments thereto
                                               Article VI.3
                              Copies of all tax returns and financial statements
                               of the company for the three most recent years
                                               Article VI.4
           A copy of the company's operating agreement and minutes of each meeting of members


                                                Article VII

          The street address of the pnnc1pal place of busmess ,s:
                                                              903 West Center Street, Suite A I
                                                                North Salt Lake, UT 84054

                                              Article VIII
          The duration of the company sllall be Perpetual years

                                               Article IX
                                             Initial Member
Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1931 Page 4 of 15




          Tbe m.1tual and sole member of the Company shall be: Alena Matveyenko
          903 W. Center St, Suite Al North Salt Lake, UT 84054
          Under GRAM,\ (63-2-201), all l't!!rllral1on 111form.111011 mamlau,ed by tbc DWISIOII IS clamllcd IA! pubhe ruon! For canllde11t>allly
          purposes, tbe b11S112m entity ph)'StUI 11lldms may be provided ralhtr 1h2n !he resideot1al or pmalt addnss         orany mdmd11al
          JffillAlt<I with Ille mill)'
    Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1932 Page 5 of 15




-                                              OPERATING AGREEMENT
                                                           OF
                                       TRANSPORTATION STAFFING SOLUTIONS LLC
                                             A Utah Limited Liability Company                         (Ji\\\
                THIS OPERATING AGREEMENT is made effective as ofthetpday of !/o,•,· /,                   )0,llf~
         2014, by the Member and Manager as hereinafter set forth.            1

                  l.    Fo!Jl),ation of Limited Liability Company. The Member hereby forms a Limited
          Liability Company pursuant to the provisions of the Utah Limited Liability Company Act of the
          Utah Code (the "Act").

               2.    Name of Company. The name of the Company shall be TRANSPORTATION
          STAFFING SOLUTIONS LLC, (the "Company").

                    3.   Character of Business. The purposes of the Company are to, without limitation,
          engage the consolidation of various trucking company payroll and records~ this enterprise may
          take the form of an employee leasing company, or a payroll company depending on professional
          advice on the most streamlined and economical structure to accomplish the goals of the
          Company. The foregoing does not limit any other lawful business permitted under the act

                  4.      Principal Place of Business. The location of the principal place of business shall
          be 903 West Center Street, Suite Al, North Salt Lake, Utah 84054, Utah, and thereafter at such
          other location or locations as the Manager may designate.

                  5.     Registered Agent. The name and street address of the agent for service of process
          required to be maintained by the Act is:

                    James C. Ziter, Attorney at Law
                    339 East 3900 South, Suite 260, Salt Lake City, Utah 84107

                 6.       Name and Address ofinitial Member. '!be name and registered agent's mailing
          address of the initial member (herein referred to as "Member") are as follows:

                    Alena Matveyenko
                    903 West Center Street, Suite Al
                    North Salt Lake, Utah 84054


                          6.1.  Continuance in Event of Withdrawal or Death of Member. The Member
          stipulates, and the Manager consents, that the Company shall continue to operate and continue to
          do business in the event of the withdrawal or death of a member.


          Transportation 9.affing SolutionsLLC (Utah) Operating Agreement
          Revised S/lf20t4
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                          6.2. Succession. Upon the death of the Member, that Member's membership
          interest shall go to the heirs or devisees of such Member who shall take such membership in
          place of the decedent The Member may transfer his/her membership share to any individual or
          entity with the written consent of the Manager, which consent may be withheld for any business
          reason in the unilateral business judgment of the Manager.

                     7.        Management of Business. The name and address of the Manager of the Company
          is a follows:
                               Aleksandra Prykhodko
                               1450 South West Temple, #0402
                               Salt Lake City, Utah 8411 S

                 8.     Term. The Company shall continue in perpetuity unless sooner terminated
          hereunder or by operation oflaw.

                  9.    Profits and Losses. The Company's net profits or net losses shall be determined
          on an annual basis in accordance with generally accepted accounting principles, consistently
          applied.

                 10.    Additional Members. Additional Members may be admitted to this Company, but
          only upon such terms and conditions as the existing Member shall determine, in writing, prior to
~,        such admission. Any such additional members will require the approval of the Manager who may
          withhold such approval for any reason or no reason within the Manager's unilateral business
          judgment.

                  11.    No Annual Meetings. No annual or other regular meetings shall be required.
          Special meetings, for any purpose or purposes, unless otherwise provided by statute, may be
          called by the Members.

                     12.       Management of the Company.

                            12.1 Power of Manager. The Manager is authorized on the Company's behalf
           to make all decisions as to (a) the development, sale, lease or other disposition of the Company's
           assets; (b) the purchase or other acquisition of other assets of all kinds; (c) the management of all
           or any part of the Company's assets; (d) the borrowing of money and the granting of security
           interests in the Company's assets (including loans from Members), so long as such loans are for
           the Company's benefit; (e) the conduct of the business of the Company; (0 the compromise or
           release of any of the Company's claims or debts; (g) the employment of persons, firms or
           corporations for the operation and management of the Company's business. In the exercise of its
           management powers, the Manager is authorized to execute and deliver: all contracts,
           conveyances, assignments, leases, subleases, franchise agreements, licensing agreements,

                                                                             l

           Transponatlon Staffing Solutiont.LC (Ulllh) Operating Agreement
           Revised S/112014
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     employment agreements, payroll arrangements, management contracts and maintenance contracts
     covering or affecting the Company's assets; all checks, drafts and other orders for payment of the
     Company's funds; all promissory notes, mortgages, deeds of trust, security agreements and other
     similar documents; and all other instruments of any kind or character relating to the Company's
     affairs, whether like or unlike the foregoing.

                     12.2 Tennination of Mana~er. The Manager may be dismissed and a new
     Manager may be appointed at any time by the Member. Otherwise, the Manager may not be
     removed from office, nor may the Member(s) participate in the management of the Company
     except in the event of the Manager's death, mental incompetence, or voluntary resignation.

                     12.3 Nominee. Title to the Company's assets shall be held in the Company's
      name or in the name of any nominee (including a Manger so acting) that the Manager may
      designate. The Manager shall have the power to enter into a nominee agreement with any such
      person, and such agreement may contain provisions indemnifying the nominee, except for his
      willful misconduct.

                      12.4 Time Devoted to Business. The Manager shall devote such time to the
      business of the Company necessary for the efficient, proper, lawful, and prudent operation of the
      Company's business.

                      12.5 Exculpation. Any act or omission of the Manager, the effect of which may
      cause or result in loss or damage to the Company or the Members, if done in good faith to
      promote the best interests of the Company, shall not subject the Manager to any liability to the
      Members.

                               Resignation. Any Manager may resign at any time by giving 'WritteR1
      notice to the Members. Any such resignation shall take effect at the date of the receipt of such
      notice or at any later time specified therein; and, unless othe..wise specified therein. the
      acceptance of such resignation shall not be necessary to make it effective.

                      12.7 Compensation. The Manager shall be entitled at all times, on demand, to
      reimbursement from the Company's funds for his or her actual Reimbursable Expenses.
      "Reimbursable Expenses", as that term is used herein, are expenses incurred by the Manager in
      furthering the Company's business and for which the Manager has approved reimbursement to be
      made. Reimbursable Expenses shall have priority over all other distribution to the Members, and
      if not reimbursed within thirty (30) days after demand, such amounts shall become interest-
      bearing debts of the Company. payable at a rate and upon terms agreed upon between the
      creditor/Manager and the Company. The Manager may negotiate directly with the members on a
      compensation package.

                13.       Company Accounting.

                                                                        J

      Transpo11a1ion Staffing Solu1ioruLLC(Ulllh) Operating Agreement
      Revised SI I/2014
Case 2:19-cr-00394-RJS-DBP Document 428-1 Filed 10/27/22 PageID.1935 Page 8 of 15




                      13.1 Books and Records. Books of account of the Company, shall be kept on a
      cash and calendar year basis in accordance with generally accepted accounting practices applied
      in a consistent manner and shall reflect all Company transactions and be appropriate and
      adequate for Company business. The books of account and other records of the Company shall
      be maintained at the principal office of the Company or at such other place as may be designated.

              14.    Bank Accounts. All funds of the Company shall be deposited in the name of the
      Company in an account or accounts in such bank or banks as shall be determined by the Manager
      and all withdrawals or disbursements from said account or accounts shall be made by check
      drawn in the Company name upon such account or accounts and signed on behalf of the
      Company by the Members.

             15.    Termination and Dissolution. The Company shall be dissolved upon the
      happening of the following events:

                         a.        The dissolution of the Company by judicial decree or operation of law; or

                         b.        When the period fixed for the Company's duration as set forth herein has
                                   expired; or

                         c.         Upon the unanimous written agreement of the members; or

                         d.         Upon the death, retirement, resignation, expulsion, or bankruptcy of a
                                    Member or the occurrence of any other event which tenninates the
                                    continued membership of a Member in the Company, unless Members
                                    holding a majority of the Interests in the Company and more than on()-ha}f
                                    (1/2) of the Capital Accounts of the Company other than the interest and
                                    Capital Account held by the Member who dies, retires, resigns, is
                                    expelled, or becomes bankrupt, within ninety (90) days after the event or
                                    occurrence, elect to continue the business of the Company.

            16.     Amendment to Agreement. Any amendment to this Operating Agreement shall
      become effective at such time as it has been approved in writing by the Members.

               17.       Miscellaneous Provisions.

                      17.1 Computation of Time. In computing any period of time under this
      Operating Agreement, the day of the act, event, or default from which the designated period of
      time begins to run shall not be included. The last day of the period so computed shall be
      included, unless it is a Saturday, Sunday or legal holiday, in which event the period shall run
      until six o'clock p.m. of the next day which is not a Saturday, Sunday or legal holiday.

                                                                      4

     Transporwlon Staffing SolutiolllLLC (Utah) Operating Agrccmcnt
     Revised S/1/2014
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                          17.2 Validit;y. If any provision of this Agreement or the application of such
          provision to any person or circumstance shall be held invalid, the remainder of this Agreement,
          or the application of such provision to persons or circumstances other than those as to which it is
          held invalid, shall not be affected thereby.

                          17.3 Applicable Law. This Agreement, and application or interpretation
          thereof, shall be governed exclusively by its terms and by the laws of the State of Utah. Any suit
          to enforce the tenns hereof shall be brought only in the State of Utah.

                          17.4 Binding Agreement This Agreement shall be binding upon the parties
          hereto, their successors, heirs, devisees, assigns, legal representatives, executors and
          administrators.

                         17.5 Captions. Section titles or captions contained in this Agreement are
          inserted only as a matter of convenience and for reference and in no way define, limit, extend, or
          describe the scope of this Agreement or the intent of any provision thereof.

                          17.6 Pronouns. All pronouns and any variations thereof shall be deemed to
          refer to the masculine, feminine or neuter, singular or plural, as the identity of the person,
          persons, entity or entities may require.

~                         17.7 Default. In the event of default by any party in the perfonnance of the
          terms and conditions of this Agreement, the defaulting party agrees, in addition to other remedies
          available, to pay all costs incurred by the other party, including reasonable attorney fees and
          costs.

                          17.8 Counterparts. This Agreement may be executed in any number of
          counterparts, each of which when executed and delivered shall be deemed to be an original, and
          all of which together shall constitute one and the same instrument.

          IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the day and year
          first above written.


          MANAGER:                                                          MEMBER:
          Aleksandra Prykhodko




                                                                        s
          Transponmlon Stafling SolullonLLC(Ulah) Operating Agreement
          Revised 5/112014
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   ,~ IRS DEPARTMENT OF THE TREASURY
   ~      INTE:RNAL REVENUE SE:RVICE
          CINCINNATI OH     45999-0023
                                                                 Date of this notice:      04-30-2014
                                                                 Employer Identification Number:
                                                                 XX-XXXXXXX
                                                                  Form:   SS-4
                                                                  Number of this notice:     CP 575 G
                  TRANSPORTATION STAFFING SOLUTIONS
                  LLC
                  ALENA MATVEYENKO SOLE MBR                       For assistance you may call us at:
                  903 W CENTER ST STE Al                          l-800-829-4933
                  N SALT I.J\KE, UT 84054
                                                                  IF YOU WRITE, ATTACH THE
                                                                  STUB AT THE END OF THIS NOTICE.




                          WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER
              Thank you for applying for an Employer Identification Nwnber (EIN). We assigned you
         EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
         documents, even if you have no employees. Please keep this notice in your permanent
         records.
              When filing tax documents, payments, and related correspondence, it is very important
         that you use your EIN and complete name and address exactly as shown above. Any variation
         may cause a delay in processing, result in incorrect information in your account, or even
         cause you to be assigned more than one EIN. If the information is not correct as shown
         above, please make the correction using the attached tear off stub and return it to us.
              A limited liability company (LLC) may file Form 8832, Entity Classification Election,
         and elect to be classified as an association taxable as a corporation. If the LtC is
         eligible to be treated as a corporation that meets certain tests and it will be electing S
         co:qxiration status, it must timely file Form 2553, Election by a Small Business
         Corporation. The LLC will be treated as a corporation as of the effective date of the S
         corporation election and does not need to file Form 8832.
              To obtain tax forms and publications, including those referenced in this notice,
         visit our Web site at www.irs.gov. If you do not have access to the Internet, call
         l-B00-829-3676 (TTY/TDD l-B00-029-4059) or visit your local IRS office.
         IM110RTANT mxnmims :

              •    Keep a copy of this notice in your permanent records. Thia notice is .ism1ed only
                   one ti.ma and the IRS will not oo able to genera.ta a duplicate cq,y fer you. 'lou
                   may give a copy of this document to anyone asking for proof of your EIN.
              •    Use this EIN and your name exactly as they appear at the top of this notice on all
                   your federal tax forms.
              *    Refer to this EIN on your tax-related correspondence and documents.
              If you have questions about your EIN, you can call us at the phone number or write to
         us at the address shown at the top of this notice. If you write, please tear off the stub
         at the bottom of this notice and send it along with your letter. If you do not need to
         write us, do not complete and return the stub.
              Your name control associated with this EIN is TRAN. You will need to provide this
         information, along with your EIN, if you file your returns electronically.
              Thank you for your cooperation.
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    I Existing Account Information for this Business
    'i
    i'(ou indicated that you already have accounts set up for this business or you are registering a foreign entity.
    I
    Internal Revenue Service
    I          Federal Empkiy•er ldenlificalion Number (FEIN):   XX-XXXXXXX

    !
    'Utah Stale Tax Commission
                 Sales and Use Tax or Use Tnx Only Number:

                  Employee Income Tnx Witt1tmltling Number:

            Streamlined Sales Tax (SST) Registration Number:


    ,utah Departn10nt of Commerce, Division of Corporations and Commercial Code

    I                          Business Registration Number:     9025667-0160

    f    opartmont of Workforce Sorvicos
    I         Unemployment lnsumnce Employer ldenliiicaUon       C 6-760029-0
     I                                       Account Number:




    I Electronic Signatures
                                       Registered Agent:

                                      Power of Attorney:James C. Ziter
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4/30/2014                                                                                   Ell✓ lndi-.idual Request - Online Application




                               ~IRS.gov
                               EIN Assistant
                                                                                                                                                              5, SN Conllrmotlon

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                                           LLC Information

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                                           Principal Business Activltt
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                                           Additi<!11al LLC lr1formation
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                Schedule K-1 - Partner's Share                                                                     Intuit   TC-65, Sch. K-1
65 8 0 4           of Utah Income, Deductions and Credits                                                                   2018


Partnership Information                                                         Partner's Share of Utah Income, Deductions and Credits
                                                                                1    Utah ordinary business income (loss)
A   Partnership's EIN:
                                                                                2    Utah net rental real estate income (loss)                7146.
B   Partnership's name, address, city, state, and ZIP code
                                                                                3    Utah other net rental income (loss)
    SALT LAKE COMMERCIAL PROPERTIES, L
    5745 WEST 300 SOUTH                                                         4    Utah guaranteed payments
    SALT LAKE CITY, UT 84104
                                                                                5a    Utah U.S. government interest income
Partner Information                                                             5b    Utah municipal bond interest income
                                                                                5c    Utah other interest income                                    4.
C   Partner's SSN or EIN:
                                                                                6     Utah ordinary dividends
D   Partner's name, address, city, state, and ZIP code
                                                                                7     Utah royalties
    JONATHAN KIRK GLANCY
    14686 SOUTH BIRKEN STREET                                                   8     Utah net short-term capital gain (loss)
    HERRIMAN, UT 84096
                                                                                9     Utah net long-term capital gain (loss)
E   Partner's phone number                            801-972-4800
                                                                                1O    Utah net Section 1231 gain (loss)
F   Percent of ownership                                  12.5000
                                                                                11    Utah recapture of Section 179 deduction
G   Enter "X" if limited partner or member            X
                                                                                12    Utah other income (loss) (describe)
H   Entity code from list below:                      I
             I = Individual          P = Gen'I Partnership
    C
    0        C = Corporation         L = Limited Partnership
     D
     E       S = S Corporation       B = LLC                   R = LLP
     s
             N = Nonprofit Corp.     T = Trust                 O = Other        13    Utah Section 179 deduction


    Enter date:                   05 01 2014                                    14    Contributions
                                    affiliated                 withdrawn
Partner's Share of Apportionment Factors                                        15    Foreign taxes paid or accrued
                                     Utah                        Total
J    Property                 $                  0.       $                0.   16    Utah other deductions (describe)


K    Payroll                  $                  0.       $                0.
L    Sales                    $                  0.       $                0.
                                                                                17    Utah nonrefundable credits:
Other Information                                                                     Name of Credit                             Code    Credit Amount




    SEE ATTACHED
                                                                                18    Utah refundable credits:
                                                                                      Name of Credit                             Code    Credit Amount




Note: To complete lines 1 through 16:
             * Utah residents, enter the amounts from federal Schedule K-1.     19    Utah tax withheld on behalf of partner
             * Utah nonresidents, see instructions to calculate amounts.                "X" if withholding waiver applied for
             All filers complete lines 17 through 19, if applicable.                            UTPA0110L 11/19/18
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                              J
                  State of lltah
                                                                                                               02/09/2016


 rl"" ·~1:.' Department of Commerce
 ~\ _ J.)
      <:G:r::,/
                  Division of Corporations & Commercial Code
                  Amendment to Certificate of Organization
:\1011-Rtf11ndnhle l'rou.'s~ing Fe,·: SJ7.00
Pursuant to UCA ~ 48-3a-202. the individual named below causes this Amendment to the Certificate of
Organization to be delivered to the Utah Division of Corporations for filing. and states as follov.s:
Entity Number: .~ 02 ~~~~~ 0_1_6_0_ _ __
The name of the limited liability company is:                  Transportation Staffing Solutions. LLC_ _ _ _ _ _ _ _ _ _ _ __

The Certificate of Organization shall be amended as set forth herein (complete all that apply):
            There is a change in the name of the limited liability company to:
            Salt Lake Commercial Properties, LLC

            The Certificate of Organization is amended as follO\vs:
             Remove as Managers:                       Add as Members:
             Eugene Tuchinsky                          Jonathan Glancy: 14686 S. Birken SL, Herriman, UT 84096
             Alex Barsukov                             Alexsander Barsukov: 3555 E Sutton Ct., Sandy, UT 84093
             Kirk Glancy                               Yevgeny Tuchinsky: 928 Windsor Lane, Bountiful, UT 84010
                                                       Konstantin Tomilin: 2049 E BO Mar Drive, Salt Lake City, UT 84121
             Remove as Member:                         Leonid Teyf: 6510 New Market Way, Raleigh, NC 27615
             Alena Matveyenko




             New Registered Agent:
             Jonathan Glancy: 14686 S. Birken St., Herriman, UT 84096

            Filing date of initial certificate _0_5_/0_1_/2_0_1_4_ _ _ _ _ _ _ _ _ _ _ _ __

            Future effective date (if not to be                 ve upon filing) _ _ _ _ _ _ _ _ _ __
                  penalties of   un. l           that this Amendment                         Certificate
            examined by me and is, to the best of' my

            Name:     Alena Matveyenko

            Title: Member                                                                  Dated: 02/09/2016
                              -------                                                                        --------------
l'ndu (;l{,."IA (C,J-2-201j, all rqiistration informalion maintained hy the Oh ision i, classified as public record. For rnnfidt•nlinlity purposes, you mu~
us<' the business 1•11tity physirnl addn•ss rather than the residential or prirntr address of any individual a!Tiliatrd with the entity.




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                    U.S. District Court
                      District of Utah
                    351 S. West Temple
                 Salt Lake City, UT 84111
